                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                   CHATTANOOGA DIVISION


  EVA JO JOHNSON,                                     )
                                                      )
                                                      )               1:21-CV-00241-DCLC
                  Plaintiff,                          )
                                                      )
          vs.                                         )
                                                      )
  US DEPARTMENT OF HOMELAND                           )
  SECURITY, TRANSPORTATION                            )
  SECURITY ADMINISTRATION,                            )

                  Defendants


                                                ORDER
          On October 6, 2021, Plaintiff EVA JOHNSON filed a Complaint [Doc. 1] along with a

 Motion to proceed in forma pauperis (“IFP motion”) [Doc. 2]. Magistrate Judge Lee noted several

 deficiencies in Plaintiff’s IFP motion and ordered Plaintiff to either pay the filing fee or submit a

 new application addressing the deficiencies [Doc. 7]. On October 27, 2021, Plaintiff filed an

 Amended IFP Motion which provided more details regarding her financial status [Doc. 8]. Upon

 receiving the Amended IFP Motion, Magistrate Judge Lee recommended that Plaintiff’s IFP

 Motion be denied as she had sufficient assets to pay the filing fee and that her Complaint be

 dismissed without prejudice subject to being refiled with the proper filing fee [Doc. 9]. Plaintiff

 filed an objection to the Report and Recommendation [Doc. 10] which is now presently before the

 Court.


          In Plaintiff’s objection, Plaintiff asks the Court to “review my case about the discriminatory

 issue. My C-pap machine was placed on a germy belt at the Chattanooga Airport after security




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 [inspection] and not returned to the container.” She reiterates that she cannot pay the filing fee

 “because of my lack of employment.” [Doc. 10, pg. 1]. As Magistrate Judge Lee noted, her IFP

 Motion does not show she is unable to pay the $402 filing fee. She indicates she has $4,000 in her

 checking and $12,000 in her savings account. Because Magistrate Judge Lee appropriately

 analyzed the IFP Motion and correctly concluded that Plaintiff has now shown she qualifies to

 proceed in forma pauperis, the Court ADOPTS the R&R denying Plaintiff’s IFP Motion.

 However, the Court will permit Plaintiff 14 days from the date of this Order to pay the filing fee

 with the Clerk’s office. Failure to pay the filing fee within the time allowed will result in the

 case being dismissed without prejudice for failure to prosecute.


        SO ORDERED:



                                              s/Clifton L. Corker
                                              United States District Judge




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